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                                                                                                             AUSA Buie

                            United States District Court                                                FILED
                                         For the Western District of Texas                          March 26, 2025
                                                 Austin Division                                 CLERK, U.S. DISTRICT COURT
                                                                                                 WESTERN DISTRICT OF TEXAS

                                                                                                         Yvette Lujan
 United States of America,                                    §                               BY: ________________________________
                                                                                                                      DEPUTY

                                                              §
 v.                                                           §
                                                              §            Case Number:
 Jose Luis Izaguirre-Martel                                   §
 AKA Jose Luis Isaguirre                                      §                           1:25-MJ-344
                                                              §



                                            CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about March 25, 2025, in the county of Travis in the Western District of Texas, the defendant,
Jose Luis Izaguirre-Martel, violated Title 8, United States Code section 1326.

This criminal complaint is based upon the following facts:

On or about March 25, 2025, the defendant, an alien, was found in Travis County, Spicewood, Texas, within
the Western District of Texas. A deportation officer arrested and interviewed the defendant, and subsequent
queries identified the defendant as a previously removed alien.

Investigation and records of the Immigration and Customs Enforcement establish that the defendant is an alien
who was previously removed from the United States to Mexico on or about June 5, 2020, and that he unlawfully
and illegally reentered the United States without having obtained permission from the Attorney General of the
United States or the Secretary for Homeland Security to reapply for admission.




                                                              ______________________________________________
                                                              Signature of Complainant (S. Meade)
                                                              Deportation Officer
                                                              Immigration and Customs Enforcement



Submitted and sworn to electronically and signed by me
pursuant to Fed. R. Crim P. 4.1 and 4(d)

March 26, 2025                                                    Austin, Texas
___________________________________________              at       ________________________________________________
Date                                                              City and State

Dustin M. Howell
United States Magistrate Judge
___________________________________________                       ________________________________________________
Name & Title of Judicial Officer                                  Signature of Judicial Officer
